Case 21-52551-sms        Doc 45    Filed 05/25/22 Entered 05/25/22 12:14:15           Desc Main
                                   Document     Page 1 of 1



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       :       CHAPTER 7
                                             :
LENORA NICOLE HARTSFIELD,                    :       CASE NO. 21-52551-SMS
                                             :
         Debtor.                             :

            WITHDRAWAL OF TRUSTEE’S REPORT OF NO DISTRIBUTION

         I, S. Gregory Hays, the Chapter 7 Trustee in the above-referenced case, hereby withdraw

the Chapter 7 Trustee’s Report of No Distribution filed electronically on August 5, 2021.


         This 25th day of May, 2022.

                                             /s/ S. Gregory Hays
                                             S. Gregory Hays
                                             Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060
